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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 22-mj-02251-Torres

  UNITED STATES OF AMERICA

  vs.

  JOSEPH JOEL JOHN,

                    Defendant.
  _________________________________/


                                JOINT MOTION
                REQUESTING A CONTINUANCE OF THE ARRAIGNMENT


         NOW COMES the United States of America, by and through its undersigned attorney, and

  respectfully requests, jointly with the Defendant, a final continuance of the arraignment in this

  case until October 19, 2022.   In support of this motion, the government states:

         1.      This matter involves the investigation of the assassination of the former President

  of Haiti, Jovenel Moise. Pursuant to that investigation, the Defendant was charged via complaint

  with Providing Material Support Resulting in Death, in violation of Title 18, U.S.C., Section

  2339A, and participating in a Conspiracy to Kill or Kidnap outside the United States, in violation

  of Title 18, U.S.C., Section 956(a)(1).

         2.      On May 9, 2022, the defendant made his initial appearance after having been

  extradited from Jamaica. Defense counsel was appointed under the Criminal Justice Act at that

  initial hearing. The Court set the arraignment or preliminary hearing for May 23, 2022. The

  Court granted a first joint request of extension setting the arraignment for June 10, 2022. See DE

  10. The Court granted a second unopposed motion to continue the arraignment until August 10,

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  2022. See DE 12. A third joint motion requesting a 60-day extension was granted by the Court,

  continuing the arraignment to October 11, 2022. See DE 17.

         3.      The attorney for the defendant is on foreign travel for which he will be out of the

  country until October 9, 2022.

         4.      Additionally, the government requires a few additional days to finalize the

  necessary paperwork for October 19, 2022.

         5.      The parties agree that this is the final request to continue the Defendant’s

  arraignment.

         6.      Therefore, the parties jointly requests that the arraignment of this matter be

  rescheduled for October 19, 2022, and submits that the Court should find that there is good cause

  to continue the arraignment and exclude time under the Speedy Trial Act, that such continuance

  does not constitute unnecessary delay and outweighs the Defendant’s and the corresponding

  public’s right to a speedy indictment.

                                                 Respectfully submitted,

                                                 JUAN ANTONIO GONZALEZ
                                                 UNITED STATES ATTORNEY
                                           BY:       /s/
                                                 ANDREA GOLDBARG
                                                 ASSISTANT UNITED STATES ATTORNEY
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I filed the foregoing document with the Clerk of the Court and
  served copies to defendant via ECF on October 6, 2022.

                                                        /s/
                                                   Andrea Goldbarg
                                                   Assistant United States Attorney




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